          Case 1:21-cr-00407-DLF Document 35 Filed 12/20/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-CR-407-DLF
                                                  :
           v.                                     :
                                                  :    VIOLATIONS:
 DARYL JOHNSON and                                :    18 U.S.C. § 231(a)(3)
 DANIEL JOHNSON,                                  :    (Civil Disorder)
                                                  :    18 U.S.C. § 1752(a)(1)
                          Defendants.             :    (Entering and Remaining in a Restricted
                                                  :    Building)
                                                  :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Disorderly Conduct in a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)

                                     I NFO RMA TI ON

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, DARYL JOHNSON and

DANIEL JOHNSON committed and attempted to commit an act to obstruct, impede, and

interfere with a law enforcement officer, that is, an officer from the United States Capitol Police,

lawfully engaged in the lawful performance of his/her official duties incident to and during the

commission of a civil disorder which in any way and degree obstructed, delayed, and adversely

affected commerce and the movement of any article and commodity in commerce and the conduct

and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
          Case 1:21-cr-00407-DLF Document 35 Filed 12/20/21 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, DARYL JOHNSON and

DANIEL JOHNSON knowingly entered and remained in a restricted building and grounds, that

is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, DARYL JOHNSON and

DANIEL JOHNSON knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engaged in disorderly and disruptive conduct in and

within such proximity to a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions..

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, DARYL JOHNSON and

DANIEL JOHNSON, willfully and knowingly engaged in disorderly and disruptive conduct

within the United States Capitol Grounds and in any of the Capitol Buildings with the intent to

impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of

Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.



                                                 2
            Case 1:21-cr-00407-DLF Document 35 Filed 12/20/21 Page 3 of 3



       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                       COUNT FIVE

       On or about January 6, 2021, in the District of Columbia, DARYL JOHNSON and

DANIEL JOHNSON, willfully and knowingly paraded, demonstrated, and picketed in a Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   D.C. Bar No. 481052




                                           By:
                                                   LAURA E. HILL
                                                   Trial Attorney
                                                   Detailed to the U.S. Attorney’s Office
                                                   for the District of Columbia
                                                   Nevada Bar No. 13894
                                                   175 N Street, NE, 9th Floor
                                                   Washington, D.C. 20002
                                                   (202) 598-3962
                                                   Laura.E.Hill@usdoj.gov




                                              3
